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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                          )
 VOTING SYSTEMS, INC., and DOMINION                   )
 VOTING SYSTEMS CORPORATION,                          )
                                                      )
        Plaintiffs,                                   )
                                                      )
            v.                                        )   Case No. 1:21-cv-00445-CJN
                                                      )
 MY PILLOW, INC., and MICHAEL J.                      )
 LINDELL,                                             )
                                                      )
        Defendants.                                   )

                      DEFENDANTS’ MEET AND CONFER STATEMENT

       Defendants My Pillow, Inc. (“MyPillow”) and Michael J. Lindell (“Lindell”) (collectively

“Defendants”), hereby certify that the parties met and conferred in good faith prior to Defendants

filing a Motion for Status Conference.

       The parties exchanged email communications regarding the submission of a Joint Motion

for Status Conference on October 1, October 4, October 5, October 6, and October 7. The parties

were unable to agree on the text of a Joint Motion. Plaintiffs have stated they do not oppose a

status conference with the Court. Plaintiffs have stated they will file their own request.




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Dated: October 7, 2021

                                           Respectfully submitted,

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                                                        Counsel for Defendant Michael J. Lindell




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of October, 2021, I will electronically file the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand will serve

counsel for the parties.

                                                      /s/ Andrew D. Parker
                                                      Andrew D. Parker




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